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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN

BAY VIEW CHAUTAUQUA
INCLUSIVENESS GROUP,                                  Case No. 17-cv-0622-PLM-RSK

             Plaintiff,

vs.                                                   HON. Paul L. Maloney

THE BAY VIEW ASSOCIATION OF
THE UNITED METHODIST CHURCH,
a Michigan Summer Resort and Assembly Association,
THE BOARD OF THE BAY VIEW ASSOCIATION
OF THE UNITED METHODIST CHURCH, its
governing body, and BAY VIEW REAL ESTATE
MANAGEMENT, INC., a domestic profit corporation,

             Defendants.

Sarah S. Prescott (P70510)                Michael S. Bogren (P34835)
SALVATORE PRESCOTT &                      PLUNKETT COONEY
PORTER, PLLC                              Attorneys for Defendants
Attorneys for Plaintiff                   950 Trade Centre Way, Suite 310
105 East Main Street                      Portage, MI 49002-0493
Northville, MI 48167                      (269) 226-8822
(248) 679-8711                            mbogren@plunkettcooney.com
prescott@spplawyers.com
                                          Jeffrey C. Gerish (P51338)
                                          PLUNKETT COONEY
                                          Attorneys for Defendants
                                          38505 Woodward Ave., Suite 100
                                          Bloomfield Hills, MI 48304-5096
                                          (248) 901-4040
                                          jgerish@plunkettcooney.com


             BRIEF ON IMPACT OF CHANGE TO BAY VIEW BYLAWS




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                                                   Introduction

        Plaintiff has pending a motion for judgment on the pleadings, filed under Federal Rule of

Civil Procedure 12(c). See ECF No. 46, PageID.732-758. The motion seeks partial judgment (as

to liability) and a declaratory judgment and injunction based on a long, unabashed history of

excluding non-Christians from a Michigan town.

        Defendants are seeking dismissal of the damages remedy, based on a claim that Plaintiff

lacks standing to recover damages under one of the statutes at issue here, 42 U.S.C. § 1983.

Defendants also have cross-moved for dismissal of Plaintiff’s § 1983 claim under Rule 12(c) on

the theory that Plaintiff has failed to allege state action.

        When Bay View raised that it might consider changing its bylaws during oral arguments

on the above matters (after they had pended for months), this Court asked the parties to brief the

impact of any bylaw change.

        Background Intransigence of Bay View & the Hail Mary Bylaw Amendment

        Those who fail to learn from history are doomed to repeat it,1 and this reality makes

some background useful for the Court’s review of where the parties now sit. Some of the parties

in this matter have been seeking to eliminate religious discrimination within Bay View,

Michigan for years and years. Over time, scores of efforts to do so, including petitions, bylaw

amendment proposals, legal memos, appearances at Board meetings, and community meetings

have failed. In addition to letters, emails and live presentations at Board meetings too numerous

to count and from a variety of Bay View homeowners, some of the key failed efforts have

included:

                  In 2010, alarmed by historical research that Bay View’s membership policies



        1
            This quote is often attributed to Winston Churchill, among others.


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           were originally racist and anti-Semitic, Bay View members discussed the matter

           with the President and other Trustees and requested that the Bay View board

           organize community conversations on Bay View’s membership policies. The

           trustees refused and declined to do so. Discrimination continued.

          In 2011, a group proposed a bylaw amendment eliminating the religious test for

           membership, which failed. Discrimination continued.

          A special 12-person Committee on Membership met through the summer of 2012

           to address the religious test; no resolution was reached. Discrimination continued.

          In 2013, 16 of Bay View’s 18 clergy members supported amending the bylaws to

           remove the bylaw at issue. Discrimination continued.

          By August 2013, various members of Bay View submitted a bylaw amendment

           that would alter the Christian litmus test now at issue. The vote was 364 for the

           change,      338   against   (about   52%   for   change). See ECF     No.    37-2,

           PageID.555. The leadership of Bay View fought to ensure that the majority vote

           for change would not be enforced, and discrimination continued.

          In January 2014, a legal memo by three lawyers, who are also Bay View

           members, addressing the illegality of a religious test for cottage ownership was

           submitted to the entire Board. The Trustees took no action. Discrimination

           continued.

          By November 2016, several Bay View members filed complaints with the U.S.

           Department of Housing and Urban Development (HUD) arguing that the religious

           test was unlawful. A copy of the Memorandum of Facts and Law that provides the

           legal basis for this filing was provided to each member of the Bay View Board of



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               Trustees. Discrimination continued. (The HUD investigation remains ongoing.)

       Exh. A, Duquette Aff.

       After 2013, Bay View also set about a series of changes within Bay View intended to

draw the community into closer alignment with the United Methodist Church. Facts, mostly

admitted, related to this effort are part of the Complaint and Answer in this suit. The Michigan

Department of Licensing and Regulatory Affairs (LARA) rejected amendments to the Bay View

Articles of Association that purported to place Bay View under the control of the United

Methodist Church. In short, by the time this case was filed, Bay View was further from

eliminating the Christian litmus test than ever before. Exh. A, Duquette Aff. Discrimination

continued.

       Despite all these failures to drill sense into Bay View’s utterly intransigent leadership,

before filing this suit, the undersigned made repeated new outreaches to urge compliance with

housing laws. Plaintiff circulated a draft of the complaint in this matter before filing and sought

mediated resolution (“Our hope is that Bay View will acknowledge that its policies are illegal

and cannot be maintained….We invite you and your counsel to meet with us to engage in pre-

filing negotiations with the goal of resolving this issue.”). Exh. B. That was not agreed upon.

Discrimination continued. On July 6, Bay View sent a letter deflecting, Exh. C. It demonstrated

no interest in mediating, but simply asked who the individual Plaintiffs would be. In response,

the next day, Plaintiff responded and offered to stipulate to a delay in answering the suit so that

the parties could mediate. Exh. D. No response was given from Bay View. Discrimination

continued.

       Undeterred, at the time the suit was served, Plaintiff again indicated, “Since Bay View

did not accept our invitation to discuss this matter before filing suit…I will extend our offer of




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settlement in writing…” The offer to settle by eliminating religious discrimination was enclosed.

Exh. E. Again, Bay View made no response. Discrimination continued.

       In fact, leadership within Bay View now publicized the claim to the community that

Plaintiff had never given Bay View a “good faith” chance to resolve the matter. Exh. F, Above

Board Memo. Therefore, to attempt again a resolution, Plaintiff’s counsel wrote:

               I read with interest your recent update to the Bay View community, which
       implies that if you would have had more time to resolve matters relating to the
       religious test for Bay View membership, you would have done so and that the
       only thing that stopped you from being able to do so was the short deadline and
       the supposed failure on my part to return outreach by you. Please forward the
       offer to resolve this matter without litigation (or any other item suggesting any
       interest in even discussing bylaw changes), which you feel that we have failed to
       respond to, and I would be more than happy to issue a public apology. There isn't
       one, to my knowledge.

               The good news is of course that you've suggested that nothing here needed
       to move to the extent of a federal lawsuit. We are glad to hear that's the case and
       only hope that it is true. We would be happy to extend the deadline for Bay View
       to respond to the complaint if it would like to negotiate a change in the bylaws,
       just as we offered in our initial contacts in June. That would ensure that Bay
       View incurred absolutely no legal fees in defending a federal lawsuit. You may
       or may not know that I reiterated this offer to Mr. Murray in writing on July 7,
       and received no response.

                I also re-reiterated this opportunity and our wish to settle this matter
       without legal expenses just days ago when I prepared the enclosure letter for
       service of the lawsuit. I have received no response to that attempt, either. The
       offer remains good, and I am heartened by the indication you have now publicly
       made that you were willing to entertain such talks, but for the difficulty of
       managing with Roberts Rules and such. I look forward to hearing your
       availability to enter those discussions. Would next Thursday or Friday suit you?
       If not, please suggest the day.

Exh. G. Bay View did not respond. Discrimination continued.

       After this was in litigation, Bay View did attend a mediation which this Court had

ordered. However, the mediation ended after only a few hours’ time and was not successful.

Discrimination continued.




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        Finally, in June 2018, both parties exchanged offers to resolve the case. The negotiations

ended on June 29, with Bay View leadership broadcasting a communication to the entire

community, stating that the negotiations were over; that Plaintiff was only interested in “the

removal of Christianity from Bay View;” 2 and that the litigation “will move forward.” Exh. H,

Above Board Memo. Discrimination continued.

        Meanwhile, members of the community had proposed once again to change the bylaws.

The new proposed bylaw would eliminate the requirement that a home owner be “of Christian

persuasion” and replace it as follows:

                 Is of Christian persuasion Agrees to respect the principles of the United
        Methodist Church and preserve the history and values of the Chautauqua
        movement. Applicants support the Bay View Association Mission: To be an
        institution in which Christian values and traditions are central; To enrich the
        human experience for individuals and families within Bay View and the
        surrounding community through a seasonal program of religious, educational,
        cultural and recreational opportunities; to provide a Christian perspective in a
        changing world.

        On July 17, days before oral argument, the Board declined to endorse this proposed

amendment. Exh. A, Exh. I. Discrimination continued.

        Oral arguments were held July 30, and the vote on the bylaw had been scheduled for

August 4.

        Only after oral argument did the board members (several of whom attended oral

arguments) apparently determine after years of stonewalling that embracing the bylaw was

now the best chance of survival of some sort of religious test. Specifically, as reflected in Exh.

J, these Trustees concluded that it might improve their odds of never facing a “jury trial” if the



        2
            This claim is false and offensive to many of the Plaintiff’s members, who are Christian. Plaintiff seeks
compliance with the law, not eradication of religious beliefs or practices. Owners in Bay View are free to practice
their religion and bar their doors to anyone they want – in their churches, homes and clubs. They are not permitted
to violate State and Federal law as regards housing or the First Amendment.


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bylaw passed. Therefore, on August 2, for the first time, the Bay View board partially flipped to

communicate support of the amendment. The new bylaw passed with a slim 2% margin. Exh.

A.

        At any time, the Board could have recognized the blatant illegality of its religious test and

declared it void and unenforceable – as are all rules and regulations, contracts and other dealings

in violation of law. Instead, Bay View’s board waited to the last moment to see how the winds

were blowing, and only then partially endorsed the least-worst alternative to totally losing this

case.

        As seen below, the August 4 date did not mark the beginning of the end of this case. To

crib from Churchill again, it was only the end of the beginning – for Bay View’s next act was set

up right away: discrimination under the new bylaw.

                                             Analysis

        Overall, the impact of the bylaw change is to add to the work the parties and this Court

must now do, but it has removed nothing from the table. Part I below explains the Court’s

ongoing duty to adjudicate the facts presented in the Amended Complaint. Part II below explains

what will now need to be done, in addition, to address the new bylaw.

I.      The Bylaws Change Does Not Remedy the Violations Outlined in the First Amended
        Complaint; this Court is Required to Resolve the Pending Motions

        A.     Plaintiff’s Damages Case is Justiciable and Liability Should be Resolved Now

        A defendant cannot moot a case by presenting a moving target, renewing its unlawful

conduct under a different guise, nor even by actual cessation of an unlawful practice. “[S]o long

as the plaintiff has a cause of action for damages, a defendant’s change in conduct will not moot

the case.” Ermold v. Davis, 855 F.3d 715, 719–20 (6th Cir. 2017). Plaintiff has such a claim for

damages. As explained below, this is not a situation in which any claim for injunctive or



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declaratory relief is or could be mooted, but even where an equity case is mooted, “relief in the

form of damages for a past constitutional violation is not affected.” Id. (internal quote omitted)

(same-sex couple’s claim for damages still stands where marriage license was initially denied,

even after state action rendered the need for injunctive relief moot); see also Gottfried v. Med.

Plan. Services, Inc., 280 F.3d 684, 691 (6th Cir. 2002) (allowing claim for damages to proceed);

Hood v. Keller, 229 Fed. Appx. 393, 400–01 (6th Cir. 2007) (unpublished) (finding claim for

injunctive and declaratory relief was mooted, but claim for compensatory damages and

attorney’s fees was not).

       The only reason this Court could not address the 12(c) motion for redress would be if it

found there was no standing on the damages claim. This Court entertained extensive oral

argument around standing to recover damages, all of which focused on 42 U.S.C. § 1983 and the

Quarles and Carter cases, two cases interpreting § 1983. Plaintiff strongly believes those cases

cannot be viewed as good law after Venegas v. Mitchell, 495 U.S. 82 (1990) (holding § 1983

claims could be assigned) and Sprint Commc’ns Co., L.P. v. APCC Servs., Inc., 554 U.S. 269,

285 (2008) (allowing standing based on assignment, involving a statute with the identical

wording compared to § 1983). These points were aired in oral argument.

       However, this case involves more than § 1983 claims. In Trafficante v. Metropolitan Life

Insurance Co., the Supreme Court made clear that Congress intended for the second federal

statute at issue, the Fair Housing Act (FHA), “to define standing as broadly as is permitted by

Article III.” 409 U.S. 205, 209 (1972). In other words, this Court is obliged to afford standing to

the limits of Article III under the FHA. Sprint held in a different context that assignment-

standing falls within Article III’s limits. But Warth v. Seldon, 422 U.S. 490, 501, 515-516

(1975), an actual FHA case, is even more clear on the exact issue presented. There, the Supreme




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Court noted that an association did not have standing specifically because the directly harmed

individuals had not assigned their claims to the association. This indicates that assignments are

cognizable and afford standing under the FHA – since the Supreme Court is not in the habit of

floating non-existent possibilities around standing.

        Notably, Defendants have never even attempted to argue that Quarles or Carter address

standing under the FHA for money damages. Likewise, they have never attempted to argue lack

of standing under State law. Their sole argument on standing relates to the language of § 1983

and, at most, addresses standing under that statute.

        In short, Plaintiff has a viable damages case here, at the very minimum, under the FHA

and Elliott Larsen – which is not even disputed. Because a change of facts cannot negate

damages claims under the controlling 6th Circuit authorities above, Plaintiff urges the Court to

grant its 12(c) motion and issue a declaratory partial judgment (on liability) on the pleadings as

to the nature of Bay View’s practices until August 2018.

        By way of explaining for the Court the procedural intentions of Plaintiff, Plaintiff is

dedicated to adjudicating this matter until there is a judgment that becomes res judicata. Only

such an outcome will be final (as compared to a last-minute bylaw change, which can be

manipulated in practice and overturned), and finality is very important to Plaintiff based on

mistrust between the parties and recent events discussed below. If the Court were to deny the

12(c) motion, that opens discovery and the parties will litigate the merits by developing a more

detailed fact record. Plaintiff does not believe that is necessary, but it is available.

        If the Court were inclined to grant Defendants’ standing motion, it would not resolve the

pending 12(c) motion, since Plaintiff requests to be allowed to amend the complaint and just

name humans with damages claims (i.e., “correcting” whatever standing issue is identified). The




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Amended Complaint sets forth what those claims consist of: claims for being excluded from

Bay View, claims for having housing prices artificially depressed, and the like. If the Court

wants dozens of parties plaintiff to bring these claims, instead of one, a conforming amendment

naming names ends the standing fight and brings the damages question right back into place.

Moreover, there is declaratory and injunctive relief to consider (discussed below).

       B.      Plaintiff’s Equity Case Stands, and Declaratory and Injunctive Relief is
               Justified

       There is no dispute at all that this Plaintiff is entitled to see the discrimination end, and

has standing to seek such equitable relief. This means there is no reason this Court cannot

declare the former Bay View bylaw unlawful and enjoin future discrimination at Bay View. The

recent change in bylaws does not move this case forward (e.g., as a judgment on liability would

do), and it does not prevent future acts of discrimination (as an injunction would do).

       The only possible response from Bay View must be that there is nothing more for the

Court to do, in order to see justice done here, since the new bylaw is lawful and it has no chance

of discriminating in the future. This may take the form of arguing that another vote to return to

the old wording is unlikely, and Bay View has voluntarily complied with the law.

       Voluntarily complying with the law after a suit has been filed moots a case only in the

rare instance where subsequent events make it absolutely clear that the allegedly wrongful

behavior could not recur. What is more, the party asserting mootness bears the heavy burden of

persuading the court that the challenged conduct cannot reasonably be expected to start up again.

League of Women Voters of Ohio v. Brunner, 548 F.3d 463, 473–74 (6th Cir. 2008) (internal

citations omitted). Indeed, when a defendant voluntarily “ceases…allegedly illegal conduct, the

case is not moot unless two conditions are met: (1) it can be said with assurance that there is no

reasonable expectation that the alleged violation will recur, and (2) interim relief or events have



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completely and irrevocably eradicated the effects of the alleged violation.” Michigan Protec. &

Advoc. Serv., Inc. v. Flint Community Schools, 146 F. Supp. 3d 897, 904–05 (E.D. Mich. 2015),

quoting Los Angeles Cty. v. Davis, 440 U.S. 625, 631 (1979). Both conditions must be met in

order for a plaintiff’s claims for equitable relief to be mooted. Id. As the Sixth Circuit has

pointed out, the burden a defendant must meet under this test is substantial:

        The reasoning behind this “heavy burden” is simple: courts want to “protect a
        party from an opponent who seeks to defeat judicial review by temporarily
        altering its behavior.” U.S. v. City of Detroit, 401 F.3d 448, 451 n. 1 (6th
        Cir.2005) (citing City News & Novelty, Inc. v. City of Waukesha, 531 U.S. 278,
        284 n. 1 (2001)). Otherwise, “the courts would be compelled to leave ‘[t]he
        defendant ... free to return to his old ways.’” Friends of the Earth, Inc. v. Laidlaw
        Envtl. Serv. (TOC), Inc., 528 U.S. 167, 189, 120 S.Ct. 693, 145 L.Ed.2d 610
        (2000) (quoting City of Mesquite v. Aladdin's Castle, Inc., 455 U.S. 283, 289 n.
        10, 102 S.Ct. 1070, 71 L.Ed.2d 152 (1982)).

Youngstown Publg. Co. v. McKelvey, 189 Fed. Appx. 402, 405 (6th Cir. 2006) (unpublished); see

also Evans v. Prisk, 2018 WL 3745736, at *2 (W.D. Mich. 2018) (Exh. L), report and

recommendation adopted sub nom; Arelio Evans v. Thomas Prisk, et al., 2018 WL 3729533

(W.D. Mich. 2018) (Exh. L) (rejecting mootness argument).

        Where a defendant attempts to partially alter its illegal course of conduct, and only after

initiation of this lawsuit, it certainly cannot prevail:

        In this case, [defendant’s] burden is increased by the fact that the voluntary
        cessation only appears to have occurred in response to the present litigation,
        which shows a greater likelihood that it could be resumed. Although the Attorney
        General has shown some willingness here to limit the scope of the Act, because
        he only did so once this lawsuit was filed, and even then did not correctly assess
        or define the constitutionally protected abortion methods, the state has not met
        the “heavy burden” of showing that it will not prosecute constitutionally
        protected abortions under the Act, and we therefore reject the state's mootness
        argument.

Northland Fam. Plan. Clinic, Inc. v. Cox, 487 F.3d 323, 342–43 (6th Cir. 2007) (internal cites

omitted) (emphasis added). See also Case v. Jones-Kelly, 2010 WL 99086, at *5 (S.D. Ohio




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2010) (Exh. L) (noting that “there has been no evidence…that Defendants have done anything to

solve what appears to be a systemic problem. Merely taking prompt action in response to a

federal complaint…does not convince this Court that this behavior will not be repeated. As a

result, Defendants’ voluntary cessation of the behavior complained about here does not moot

Plaintiffs' claims”) (internal citation omitted) (emphasis added).

       Defendants cannot meet the heavy burden of demonstrating that their illegal conduct of

discriminating against non-Christians in homeownership is certain not to recur.           In fact,

Defendants have not and cannot show the new bylaw is even in compliance with the FHA and

Elliott-Larsen in the first place (i.e., that it even reflects a “voluntary cessation” of unlawful

action at all). To do so, it would need to show neither disparate treatment, nor disparate impact

of the new bylaw. Yet on its face, the new bylaw continues the imposition of a strict religious

test as a condition of home ownership. Applicants must “respect” the principles of a named

church. The word “respect” has several meanings. “Respect” means “to admire deeply” or

“have due regard to traditions of”. However “respect” also means “recognize and agree to abide

by” with synonyms – “abide by, comply with, follow, adhere to, conform to, act in accordance

with, defer to, obey, observe, keep, keep to”. The broad and vague language of the amendment

certainly permits religious discrimination in Bay View, since it can be read as the reader wishes

to read it. Cf. Landon v. City of Flint, 2017 WL 2798414, at *5 (E.D. Mich. 2017) (Exh. L)

(internal citations omitted) (holding that plaintiff’s claims were not moot because the city could

reoffend given the open-ended nature of an amendment to its Rental Inspection Code, which, as

written, could allow for violations of the 4th amendment). The language in Bay View’s Articles

of Association and bylaws (both before and after the recent amendments) likewise is open-ended

and lacks adequate specificity to ensure that discrimination will not occur. Indeed, the new




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language actually heightens the discrimination by limiting the accepted scope of religious beliefs

to the principles endorsed by the United Methodist Church. (See principles of the United

Methodist Church at http://www.umc.org/what-we-believe/preamble. Also, Social Principles of

The United Methodist Church 2017-2020, Cokesbury Publishers, ISBN 13:9781501835773,

2017.)

         The amendment further doubles down on the religious test by requiring the applicant to

support the Bay View Association Mission statement.         Thus, homeowners must support a

mission, among other things, “to provide a Christian perspective in a changing world.” While

Bay View members, like Americans generally, should be free to voluntarily engage in religious

practices, requiring such beliefs and practices as a condition of home ownership violates the law.

It is difficult to conceive how a devout Jewish, Muslim, or Atheist willing buyer could prove that

he or she would aid in offering the world a Christian perspective on life. In any case, it is not

Plaintiff’s burden here, but the Defendants’ burden, to show that neither disparate treatment nor

disparate impact discrimination is conceivable under its new bylaw, and Plaintiff urges the Court

to hold Bay View to this predicate showing, if it wishes to employ the voluntary cessation case

law.

         Relative to that case law and the two prongs Defendants would have to show, Plaintiff

first submits that the history and background reflected in Exhs. A-I foreclose a holding that

discrimination is not capable of recurring in Bay View. In short, the background shows that Bay

View became interested in stopping discrimination, if at all, upon seeing oral argument. Until

literally the last moment, it did not entertain cessation of its practices—and even at the last

second, leadership could not unanimously endorse the new (still unlawful) bylaw. After many

years of refusing to end discrimination without a court battle, Plaintiff will be excused for




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questioning the genuineness of the last ditch Hail Mary.3

         Even if the history were not sufficient to show Defendants’ true colors, Defendants

removed all doubt of their intentions days after the new bylaw passed. In an email to the Bay

View membership committee (the body that screens new would-be buyers within Bay View),

sent just four days after the bylaw amendment vote, Bay View’s President Jon Chism relayed

what “the Board of Trustees believes” should be done to implement the new bylaw. First, he

relayed that the wish of the current owners in general as demonstrated by survey information is

“to keep Bay View as a Christian community,” whatever the vote. Second, he directed that a

“gate keeper of Bay View’s Christian culture” was needed because of the bylaw change. The

Board now expected “rigorous” screening of would-be buyers, with the membership committee

“stepping-up” as this “gate keeper of Bay View’s Christian culture.” Specifically, anyone who

was “of Christian persuasion” (i.e., who would “meet the former policy”) could be approved for

ownership right away, while anyone not so qualified (not Christian) would be held back and

further scrutinized (how is not exactly stated). Moreover, the Board directed the Chair of the

committee to give “confidential evaluation of the committee members,” i.e., these “gate-keepers”

of “Bay View’s Christian culture,” so that anyone involved in screening could be assured of

being “supportive of this new responsibility.” Exh. K.

         Bluntly, this email is direct evidence of an intention to keep Bay View as Christian as

possible and to enforce a two-tier process for Christians and non-Christians, while weeding out

from the screening committee anyone who would not comply. It is a flagrant declaration of

intentions by a Board that never wanted a change and now intends to do what it wants, under the




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          Notably, Defendant has never admitted it violated the law; such a reckoning is pivotal for ensuring against
backsliding or even assuring future compliance with the law.


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radar, perhaps, through subtler means—at best. After some of the “gatekeepers” objected, the

Board apparently realized it had made a pivotal, strategic blunder in showing its hand, so weeks

after sending the above “gatekeeper” directive it mouthed that it would take more time to study

the matter, would retreat from its directives to date and would of course in the future follow the

law. However, this Court is not permitted to decide cases based on self-serving statements of

future intentions, particularly in light of a long history of discriminating.

       Turning to the second prong of the “voluntary cessation” test, there has been no interim

relief or event irrevocably eradicating the harmful effects caused by Defendants’ actions. In fact

the most recent guidance to the Membership Committee indicates: (a) an intent on the part of its

leaders to keep Bay View Christian; (b) recitation that most community members want it that

way; (c) direction to fast track Christians and hold others for approval, then apply “rigorous”

screening; and (d) a retaliatory intention to exclude from the screening body anyone not on

board. This Court clearly cannot hold that Bay View’s leadership has nothing but lawful

intentions, based on this email. Meanwhile, harms to Plaintiff’s members have not been reversed

or eradicated—they still are excluded from ownership of Bay View cottages, still are prevented

from selling their property on the open market, and otherwise continue to be harmed in all the

ways outlined in their First Amended Complaint. Defendants simply cannot show a real

“voluntary cessation” of discrimination, let alone the two prongs necessary to foreclose

declaratory judgment and an injunction.

       In fact, Plaintiff pleads with the Court that real people are still being treated less

favorably based on religion, and have been for years, in violation of State and Federal law. The

latest developments only show that will continue on—perhaps under the radar, via “rigorous”

examinations, or by subtle control of the screening body membership, or by other artifice if need




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be. But Defendants’ leaders cannot demonstrate their bylaw is now fully lawful and they have

changed and will not revert back to discrimination, and they have remedied past wrongs – and

those are their affirmative burdens. They refused to come around for many years and took no

time at all after the new bylaw passed to insist that everyone wants to “keep Bay View as a

Christian community.” Exh. K. This calls out for swift correction and underscores the need for

an injunction now, before the harm mounts further.

II.    With Leave of the Court, Plaintiff Will Amend the Complaint to Update the Facts
       Concerning the New Amendment and Bring a New 12(c) Motion to Address It

       This Court could enter a positive injunction ordering Bay View to cease all religious

discrimination/screening forthwith. This would be based on its assessment of the admitted facts

and briefing now before the Court, and (depending on the wording) would forestall the need to

wrangle over the illegality of the new bylaw.

       Alternatively, the Court could issue an order declaring the former practice unlawful under

Rule 12(c), essentially entering a judgment of liability and enjoining future enforcement of the

old bylaw—a step that would leave open a new set of facts under the new bylaws. In that case,

Plaintiff would need to amend the complaint, cite the new bylaw, allege that it is also unlawful

and file a second 12(c) motion specific to that new bylaw.

       For all the reasons set forth above, Plaintiff does not believe the Court has other viable

options consistent with our laws. However, if the Court denied the 12(c) motion, Plaintiff would

amend the complaint, cite the new bylaw, and pursue claims that both the former and new

practices are unlawful. This would include a second 12(c) motion specific to the new bylaw and

discovery on the former practice/former bylaw.

                                           Conclusion

       Defendants’ bylaws changes do not obviate the need for this Court to consider and rule



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on all of Plaintiff’s claims, including those for injunctive and declaratory relief, as well as those

for damages.

                                                   Respectfully submitted,
                                                   SALVATORE PRESCOTT
                                                   & PORTER, PLLC

                                                   /s/ Sarah S. Prescott
                                                   Sarah S. Prescott (P70510)
                                                   Attorneys for Plaintiff
                                                   105 East Main Street
                                                   Northville, MI 48167
                                                   (248) 679-8711
Dated: September 11, 2018                          prescott@spplawyers.com


                                   CERTIFICATE OF SERVICE

        I hereby certify that on September 11, 2018, I electronically filed the foregoing paper with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to all counsel

of record.

                                                   /s/ Sarah S. Prescott
                                                   Sarah S. Prescott (P70510)
                                                   Salvatore Prescott & Porter, PLLC
                                                   Attorneys for Plaintiff
                                                   105 East Main Street
                                                   Northville, MI 48167
                                                   (248) 679-8711
Dated: September 11, 2018                          prescott@spplawyers.com




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